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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


LOREN OWENS,
                                       Case No. 1:24-cv-00547
       Plaintiff,
v                                      Hon. Jane M. Beckering

ADROIT HEALTH GROUP, LLC d/b/a
STRATA HEALTH GROUP & ADROIT
INSURANCE SOLUTIONS LLC,
AMERICAN BUSINESS ASSOCIATION,
TYLER LONG, AND WESLEY CUNHA,
DOES 1-133,

       Defendants.


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            DEFENDANTS TYLER LONG AND WESLEY CUNHA’S
     CERTIFICATE OF CONCURRENCE WITH L.CIV.R. 7(d)(1) CONCERNING
          DEFENDANTS LONG AND CUNHA’S MOTION TO DISMISS


       The parties conducted a thorough meet and confer discussion before Defendants Tyler

Long (“Long”) and Wesley Cunha (“Cunha”) filed this Motion to Dismiss. Defendants Long and

Cunha sent detailed correspondence to Plaintiff’s counsel on July 16, 2024, regarding the issues

raised in the motion, and Plaintiff’s counsel provided a detailed writing in response on July 21,

2024. Then, on July 24, 2024, counsel for Plaintiff (Mr. Goodrich) and Defendants Long and

Cunha (Mr. Pertnoy and Ms. Ramsey) further met and conferred regarding the issues raised in a

telephone conference approximately 30 minutes in length. Therefore, both sides have thoroughly

discussed the issues raised in the Motion to Dismiss and have acknowledged they are at an

impasse.


 Dated: 08.06.2024                                   /s/ Janet Ramsey
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                                         Attorneys for Defendants, Tyler Long and
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